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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, and BRAD
 LAFUZE, on behalf of themselves and
 all others similarly situated,

       Plaintiffs,                         Case No. 20-cv-10670
                                           Hon. George C. Steeh
 v.                                        Mag. Judge Patricia T. Morris

 WELLPATH, LLC,

       Defendant.

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      DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
         RESPONSE TO DEFENDANT’S MOTION TO DISMISS

                              INDEX OF EXHIBITS

EXHIBIT A            Wellpath Policy and Procedure HCD-100_E09B – Timely
                     Initiation of Medication Upon Arrival for Grand Traverse
                     County Jail and Wayne County Jail

EXHIBIT B            Wellpath Policy and Procedure HCD-100_E09A – Medication
                     Verification for Grand Traverse County Jail and Wayne County
                     Jail
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EXHIBIT C         Wellpath Policy and Procedure HCD-100_D-02 – Medication
                  Services for Grand Traverse County Jail and Wayne County
                  Jail

EXHIBIT D         Wellpath Policy and Procedure HCD-100_E-05 – Mental
                  Health Screening and Evaluation for Grand Traverse County
                  Jail and Wayne County Jail
